
883 So.2d 439 (2004)
In re James G. PERDIGAO.
No. 2004-B-2423.
Supreme Court of Louisiana.
October 1, 2004.

ORDER
Considering the Petition for Interim Suspension for Threat of Harm filed by the Office of Disciplinary Counsel,
IT IS ORDERED that James G. Perdigao, Louisiana Bar Roll number 18376, be and he hereby is suspended from the practice of law on an interim basis pursuant to Supreme Court Rule XIX, § 19.2. Pursuant to Supreme Court Rule XIX, § 26(E), this order is effective immediately.
/s/ John L. Weimer
JUSTICE, SUPREME COURT OF LOUISIANA
